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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                                             {*-::-1           ''
                                                                      \           '.-
                        Plaintiff,                     rNDrcrMENr         "19"
                                                                                 g lL+ -3 DLI [rsffntL
                                                       18U.S.C. $ 1343
                                                       r8 u.s.c. $ 1832
AARON QUOC KHIEU,

                        Defendant.


THE UNITED STATES GRAND JURY CHARGES T}IAT:

  GENERAL ALLEGATIONS

  AT ALL TIMES RELEVAI\T TO THIS INDICTMENT;

        l         Boston Scientific Corporation ("Boston Scientific") was a corporation that

        developed, manufbctured, and sold various medical devices, Boston Scientific had

        substantial operations in the State and District of Minnesota, including, but not

        limited to, a site in Maple Grove, Minnesota. Boston Scientific does business in,

  ..t   and its business activities affect, the interstate and foreign commerce of the United

        States.

        2.        The defendant, AARON QUOC KHIEU, worked as an engineer at Boston

        Scientific's Maple Grove, Minnesota, facility. The defendant's duties included

        work on the development of new Boston Scientific catheters used to restore,

        improve, or maintain the flow of blood through blood vessels.

        3.        The defendant worked on the development of catheters to be used in                   a

        medical procedure called Percutaneous Transluminal Angioplasty C'PTA').



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       4.       A   catheter of the type the defendant helped design is a flexible, holtow

       tube with a balloon at the     tip. In PTA, a physician threads   the catheter through an

       incision into   a   blood vessel that is partially or wholly blocked. Once the balloon at

       the tip of the catheter is in the right position, the treating physician inflates the

       balloon, thereby pressing the blockage against the blood vessel's wall and

       restoring or improving the flow of blood through the blood vessel.

       5.      Boston Scientific had made advances on various engineering, design, and

       manufacfuring issues         in   catheter   design. These   advances allowed Boston

       Scientific to develop a catheter with a stronger balloon than on earlier versions     of
       Boston Scientific catheters. While this new catheter was in development Boston

   .   Scientific referred to it as "Sapphire." It was later commercially marketed under

       the name "Mustang."            A    more advanced u..r,oo     of the Mustang was in
       development as the "Mustang           Plus." Upon commercial      release, the "Mustang

       Plus" will be marketed as "Mustang."

       6.     Documents related to "Sapphire"/"Mustang'T"Mustang Plus" were stored

       on Boston Scientific's engineering document management system. By virtue              of
       his position with Boston Scientihc, the defendant was granted access by Boston

       Scientific   to the portions of          Boston Scientific's engineering document

       management system          on which "Sapphire," "Mustang,', and ,,Mustang plus,,
       documents were stored and maintained.
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          7.     "Sapphire," "Mustang," and "Mustang Plus" were            all products which
          Boston Scientific did sell and ship in interstate and foreign commerce or intended

          to sell and ship in interstate and foreign commerce.

          8.     "Mustang Plus" was an advance on Boston Scientific's "Mustang" PTA

          catheter. One way to stxengthen the balloon at the tip of a catheter is to make the

          balloon multi-layered. Before "Mustang Plus" Boston Scientific's PTA catheten

          had a single or a double-layer balloon. "Mustang Plus" was designed with a three-

          layer balloon, which would be stronger than a single or double-layer balloon.

          Balloon strength is one factor that is important to purchasers of PTA catheters.

          Trade secrets that are involved in the design, engineering, and production of a

          threeJayer PTA catheter balloon include, but are not limited to, the selection and

          proportion ofvarious polymers that are included in the three different layers ofthe

          balloon, the settings on a three-layer extruder that is used to manufacture the three-

          layer balloon, tooling specifications for manufacture of the three-layer balloon,

          and manufbcfuring processes. Documents detailing all ofthese trade secrets, and

          others, could be found on the areas of Boston Scientific's engineering document

      .   management system to which the defendant had access.

          9.     Boston Scientific could be expected to derive economic benefit from

          "Sapphire," "Mustang," and "Mustang Plus." To maintain the confidentiality of

          these products while they were       in    development, and thereby safeguard the

          economic benefit to be derived from it, Boston Scientific took various protective

          measures, including, but not limited to:
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                   Maintaining the physical security of its facilities by requiring employees

                   to use electronic access control cards, escorting visitors, and posting

                   security personnel at entrances;

                   Maintaining security on computer systems with such features               as


                   passwords, and limiting access      of   employees   to those parts of   the

                   network which they had a legitimate need to access;

                    Training employees on the need to maintain the confidentiality of

                   company data, and ways to accomplish that. This haining took the form

                   of both training sessions, and printed materials that were distributed to

                   employees;

                   Stamping confidential material prominently with warnings such             as


                   "BOSTON SCIENTIFIC CONFIDENTIAL:" and

                e. Prior review and approval by Boston Scientific management of public
                   speaking engagements and proposed publications by Boston Scientific

                   personnel working on "Sapphire," "Mustang," and "Mustang Plus."

                                                                        .,
                                       couNTs 1- 7
                                        (Wire Fraud)

       10.      The grand jury realleges each ofparagraphs one through and including nine

       of this indictment as though they were set forth in full at this point.

       I   l.   On or about the dates set forth in the table below. in the State and District

       of Minnesota, the defendant,

                                    AARON QUOC KHIEU

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             did knowingly execute and attempt to execute a scheme and artifice to defraud, or

             for obtaining money or property by         means    of false or fraudulent pretenses,
.            representations, or promises, and for the purpose       of executing or attempting to
         .   execute such scheme and artifice, did transmit          by means of wire, radio, or

             television communication     in   interstate   or foreign   commerce certain writings,

             signs, signals, pictures, or sounds, as specifically described in the table below.

                         PURPOSE OF THE SCHEME AND ARTIFICE

             12.    It was the purpose of the scheme and artifice to defraud that the defendant,

             AARON QUOC KHIEU, would wrongtully obtain property of Boston Scientific,

             specifically trade secrets used in the development, engineering, and manufacture

     ' of the "Sapphire," "Mustang," and "Mustang                    Plus" catheters, and would

             manufacture and sell     a copy of the "Mustang Plus"           catheter (to which the

             defendant had given the name "Snowcat") through a company he would start, to

,            be called "Snowflake Medical," which would manufacture the defendant's copied

             catheters at a factory to be located in the Socialist Republic of Vietnam, and sold

'            by the defendant to physicians, hospitals, and others in the medical field in the
 -           Socialist Republic of Vietnam, the United States of America, and elsewhere; it

                  further a pulpose of the scheme and artifice to defraud that the defendant

             would finance "Snowflake Medical" with funds obtained from investors, and that

     .       such investments would be solicited via email or in person at a meeting held in

             Minnetonka, Minnesota on or about December 15,2012,to which invitations were
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       sent via    email. At the Minnetonka meeting, the         defendant also reported to

       potential investors in Snowflake Medical the results of a recent hip the defendant

       had taken to the Socialist Republic of Vietnam, and the results of meetings he had

       held there with physicians and hospital administrators.

           EXECUTION OFTHE SCHEME AND ARTIF'ICE

        13.      In execution and attempted execution ofthe scheme and artifice to defraud,

       the defendant, AARON QUOC KHIEU, solicited potential investors via email to

       invest in Snowflake Medical.

        14.      In further execution and attempted execution of the scheme and artifice to

       defraud, the defendant, AARON QUOC KHIEU, invited persons via email to

       attend a meeting to be held in Minnetonka, Minnesota on or about December 15,

        2012, at which meeting the defendant would brief attendees on a recent trip the

        defendant had taken to the Socialist Republic of Vietnam and his meetings with

        doctors and hospital adminishators in that country, and would solicit investments

        from meeting attendees in Snowflake Medical.

        15.      On or about the dates set forth below, in the State and District of Minnesota

        and elsewhere, the defendant, AARON QUOC KHIEU, executed and attempted to

        execute the scheme and artifice to defraud, by sending the emails described below:

             COUNT DATE (ON OR DESCRIPTION
                   ABOUT)

             1           August 14,2012      Email from the defendant to an identified
                                             employee of Vietnam Data Communication
                                             Company, Ho Chi Minh City, Vietnam, asking
                                             for advice about how to sell medical devices.
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                                       including balloon catheters, in Vietnam.
                         September 13, Email from the defendant to multiple potential
                         2012          investors asking if they are interested in being
                                       initial investors ("angel investors" in the
                                       defendant's phrase) in a medical device
                                           comDanv.
                         December       4, Email from the defendant to multiple potential
                         2012              investors inviting them to a meeting to be held
                                           in Minnetonka, Minnesota on December 15,
                                           2012.
            4            January 3, 2013   Email from the defendant to an identified,
                                           potential investor, soliciting an investment in
                                           the defendant's medical device company, and
                                           attaching a Powerpoint presentation about the
                                           medical device company and the catheter the
                                           defendant intended to manufacture and sell
                                           through that company.
             5           March 4, 2013     Email from the defendant to a different,
                                           identified potential investor, asking the
                                           potential investor to sign a non-disclosure
                                           agreement before the defendant sends to the
                                           potential investor a copy of the Snowflake
                                           Medical business plan, which business plan
                                           contained trade secrets of Boston Scientific.
             6           March12,20L3 Email from the defendant to the identified
                                           potential investor described in Count 4 above,
                                            attached to which is a copy ofthe Snowflake
                                           Medical business plan, which business plan
                                            contained trade secrets ofBoston Scientific.
             7           May 27,2013       Email from the defendant to an identified
                                            employee of a medical device firm that is in
                                            competition with Boston Scientific, attaching
                                            a copy of the Snowflake Medical business
                                           plan, which business plan contained trade
                                            secrets of Boston Scientific. The identified
                                            employee's business responsibilities included
                                            marketine medical devices in Vietnam.


        all in violation of Title 18, United States Code, Section 1343.




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                                       couNTs 8 - 12
                         (Theft and Attempted Theft ofTrade Secrets)

       16.     The grandjury realleges each ofparagraphs one tluough and including nine

       of this indictment as though they were set forth in full at this point.

       I7.     On or about October 8, 2012, in the State and District of Minnesota, the

       defendant,

                                    AARON QUOC KHIEU

       did, with the intent to convert a trade secret of Boston Scientific Corporation to the

       benefit of someone other than Boston Scientihc Corporation, knowingly steal and

       attempt     to steal, and without authorization appropriate, take, carry away,    and

       conceal, and by fraud, artifice, and deception obtain information, and attempt to do

       so, by downloading to a thumb drive which he then removed from Boston

       Scientific's premises, more than one hundred documents from Boston Scientific's

       engineering document management system. Many               of   these documents were

       prominently labeled as the confidential, proprietary, intellectual property of

       Boston Scientific. These documents contained the trade secrets described in the

       table below alleging these Counts 8 through and including 12, as well as other

       information of Boston Scientific related to "Sapphire," "Mustang," and "Mustang

       Plus," including but not limited to, the:

               -    tooling dimensionsi

               -    manufacturing processes, particularly extruder settings;

               -    polymercompositions;
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               -   and technical prints

       of items associated with Boston Scientific's "sapphire" "Mustang," and "Mustang

       Plus" development project, a product that is produced for, or placed in, interstate

       and foreign cofirmerce, and which Boston Scientific had taken reasonable

       precautions to keep confidential (see paragraph 9, above), and the confidentiality

       of which had independent        economic value   to Boston Scientific in that said

       confidentiality prevented competitors      of Boston Scientific from   marketing   a


       product equivalent      to   "Mustang Plus" without incurring the research and

       development costs involved      in independently developing a "Mustang Plus"-like

       product independently.

COUNT        FILE TITLE              DESCRIPTION OF TRADE SECRET

8            90517032.pdf            Mustang balloon tubing print

9             90531924.pdf           Mustang balloon mold print

10           90531925.pdf            Mustang balloon mold print

ll           90531926.pdf            Mustang balloon mold print

12            8.0 Tube DOE.xls Extrusion run conditions



        all in violation of Title 18, United States Code, Section 1832.
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                                        COUNTS 13 AND 14
                              (Theft and attempted theft oftrade secrets)

       16,     The grand jury realleges each of paragraphs one through and including nine

       of this indictment as though they were set forth in full at this point.

        17.    On or about June 12, 2013, in the State and District of Minnesota, the

       defendant,

                                      AARON QUOC KHIEU

       did, with the intent to convert a trade secret of Boston Scientific Corporation to the

       benefit of someone other than Boston Scientific Corporation, knowingly steal and

       attempt   to steal, ?rnd without authorization appropriate, take, carry away,     and

       conceal, and by fraud, artifice, and deception obtain information, and attempt to do

       so, by downloading to a thumb drive which he then removed from Boston

       Scientific's premises, more than one hundred documents from Boston Scientific's

       engineering document management system. Many               of   these documents were

       prominently labeled as the confidential, proprietary intellectual property of Boston

       Scientific. These documents contained the trade secrets described in the table

       below alleging these Counts 13 and 14, as well as other information of Boston

       Scientific related to "Sapphire," "Mustang," and "Mustang Plus," including but

       not limited to, the:

       -       tooling dimensions;

       -       manufacturingprocesses,particularlyextrudersettings;

               polymer compositions;


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       -       and technical prints

       of   items associated with Boston Scientific's "Sapphire," "Mustang,"            and

       "Mustang Plus" development project, and were trade secrets that were related to a

       product or service used in, or intended for use in, interstate and foreign commerce,

       and which Boston Scientific had taken reasonable precautions to keep confidential

       (see paragraph     9, above), and the confidentiality of which had independent

       economic value       to Boston Scientific in that said     confidentiality prevented

       competitors of Boston Scientific from marketing a product equivalent to "Mustang

       Plus" without incurring the research and development costs involved in

       developing a "Mustang Plus"-like product independently.


COUNT        FILE TITLE                DESCRIPTION OF TRADE SECRET

13           Mustang+ Balloon Eight page document containing laboratory test
             Design and Design results for Mustang Plus balloon
             Verification Planning
             Report
t4           Description            of Blueprints   showing modification of Mustang mold
             Change



        all in violation ofTitle 18, United States Code, Section 1832.

                                    FORFEITURE ALLEGATIONS

        Counts l-14 of this Indictment are hereby realleged and incorporat€d as if fully set

forth herein by reference, for the purpose of alleging forfeitures pursuant to Title       18,


United States Code, Sections 981(aXlXC) and2323, and Title 28, United States Code,

Section 2461(c).


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       As a result of the offenses alleged in Counts I -7 of this Indictment, the defendant

shall forfeit to the United States, pursuant to Title 18, United States Code, Section

981(a)(1XC) and Title 28, United States Code, Section 2461(c), any property, real or

personal, which constitutes or is derived from proceeds traceable to the violations of Title

18, United States Code, Section 1343.

                As the result of the offenses alleged in Counts 8-14 of this Indictment, the

defendant shall forfeit to the United States pursuant to Title 18, United States Code,

Section 2323:

        a.      Any article, the making or trafficking of which is prohibited under section

506 of Title 17, United States Code, or section 2318,2319,2319A,23198, or 2320, or

chapter 90,   ofTitle   18, United States Code;

        b.      Any properfy used, or intended to be used, in any manner or part, to

commit or facilitate the commission of any offense refened to in subparagraph a; and

        c.      Any property constituting or derived from any proceeds obtained directly or

indirectly as a result of the commission ofany offense referred to in subparagraph   a.


        The property subject to forfeiture pursuant to Title 18, United States Code, Section

2323 includes, but is not limited to:

        l)      Apple iPhone 5, Serial Number: DNRILZ6BDTTQ;

        2)      SYX Systemax PC, Serial Number: 107447434:

        3)      Fantom Drives GreenDrive, Serial Number: SH0368495;

        4)      IIP Flash Drive, black in color; and



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       5)      PNY Thumb Drive, black in color.

               If   any of the above-described forfeitable property is unavailable for

forfeiture, the United States intends   to   seek the forfeiture   of   substitute property   as


provided for in Title 21, United States Code, Section 853(p), as incorporated by Title 18,

United States Code, Section 2323(b)(2) and Title 28, United States Code, Section

246r(c).


                                      ATRUEBILL




I.INITED STATES       ATTORNEY                    FOREPERSON




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